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Attorneys for Namrita Purewal

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________x
                                          :
In Re                                     :                   Chapter 7
                                          :
KANWALDEEP SINGH KALSI,                   :
                                          :                   Case No. 20-10330 (MG)
                                          :
                  Debtor.                 :
                                          :
                                          :
__________________________________________x

            OBJECTION TO TRUSTEE’S MOTION TO SELL PROPERTY

Namrita Purewal, the Debtor’s spouse and his largest creditor (other than her family’s

company, Advanced Rx), objects to the motion by Angele Tese-Milner, Esq., Chapter 7

trustee, for turnover of the real property titled in the name of the Debtor and located at 82

Inlet Road, Southampton, New York, and to authorize its sale.

    THE TRUSTEE HAS NOT ESTABLISHED THAT ANY EQUITY IN THE
                       PROPERTY EXISTS

       1.      Without any evidentiary support, the Trustee asserts that equity exists in

this property, based solely on her “belief” that there is equity. Ms. Purewal, who is familiar

with the property’s condition and has consulted appraisers and brokers in the Hamptons,

believes that the property is worth, at best, only marginally more than the roughly $900,000


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in mortgage liens presently encumbering that property. Attached as Exhibit “A” are e-mail

reports sent within the last few weeks from local brokers evaluating the property at between

$950,000 and $1,125,000. Accordingly, before the Trustee expends estate funds fixing up

and marketing the property, a better showing needs to be made that the property is likely

to bring a return to the estate that would justify the expense.

    THIS BANKRUPTCY CASE SHOULD BE DISMISSED AS AN ABUSIVE
                           FILING

       2.      More importantly, Ms. Purewal believes that the Trustee should not be

administering this or any other properties titled in this Debtor, since the Debtor’s filing is

an abuse of the bankruptcy process and this case should be dismissed. Ms. Purewal will be

filing, either simultaneously with this objection or shortly thereafter, a motion to dismiss

the case under 11 U.S.C. 707(b)(1) and (3). As will be shown in that motion, this

bankruptcy filing is part of a carefully orchestrated scheme by this Debtor to siphon as

much money as possible out of the marital assets, having filed an action for divorce that is

currently pending in Supreme Court, Suffolk County, and then discharge his personal

liability for $2MM in mortgage debt and hundreds of thousands of dollars in other debt, all

while secreting marital assets and hiding other assets from his creditors in this case. This

Court should consider and rule on this motion before permitting the Trustee to sell assets

that are subject to distribution in the matrimonial action, and Ms. Purewal requests that this

Court determine that motion before authorizing a sale of property.


Dated: April 30, 2021
       New York, New York




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            CARTER LEDYARD & MILBURN LLP

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